
On authority of Campbell v. Muncie, Appeal No. 2 (post, p. 633), decided herewith, order granting defendant Ada Hicks Muneie’s motion under rule 107, subdivision 7, Rules of Civil Practice, to dismiss the complaint because the cause of action had been released, and the judgment entered pursuant to said order, reversed on the law and the facts, with ten dollars costs and disbursements; and it is directed that the question of fact as to the validity and applicability of the release be tried by a jury and the findings thereof reported to the Special Term for its action on the motion as provided in rule 108 of the Rules of Civil Practice. Lazansky, P. J., Carswell, Tompkins, Davis and Johnston, JJ., concur.
